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                                           May 4, 2021

Submitted via ECF

Magistrate Judge Alex G. Tse
San Francisco Courthouse
Courtroom A - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

       Re:     Joint Letter Brief re: Google Custodians
               Rodriguez v. Google LLC, Case No. 3:20-cv-04688-RS (N.D. Cal.)

Dear Magistrate Judge Tse:

        Plaintiffs and Google LLC (“Google”) submit this joint letter brief regarding Plaintiffs’
request for an order that Google search additional custodians’ ESI. Counsel for the parties met and
conferred in good faith, including by videoconference on March 31, and reached an impasse. Ex.
A includes Plaintiffs’ proposed order, and Ex. B includes Defendant’s proposed order.
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                                 PLAINTIFFS’ STATEMENT

       Plaintiffs respectfully request an order compelling Google to add ten Google employees as
custodians: Sundar Pichai, Greg Fair, Eric Miraglia, Stephan Micklitz, Guemmy Kim, Jason Titus,
Jan Hannemann, Rahul Roy-Chowdhury, Keith Enright, and Donald Harrison. See Vasudevan
Software, Inc. v. Microstrategy Inc., No. 11-CV-06637-RS-PSG, 2012 WL 5637611, at *6 (N.D.
Cal. Nov. 15, 2012) (granting motion to add custodians whose documents did not appear
“duplicative or unreasonable,” including CEO’s documents).

        These Google employees likely have highly relevant documents. Google so far has
produced only a small set of emails, all reproduced from the Arizona action, but even that small
subset of emails confirms the importance of custodial productions. For example, Google claims
in its motion to dismiss that its disclosures were clear, including with Web & App Activity
(“WAA”), and that it had consent. But Google employees emailed that WAA “is so nebulous that
it causes problems,” that Google’s Privacy Policy is “hard to understand,” and Google has an
“overall mess” with respect to obtaining user “consent.”

       Judge Seeborg scheduled a November 12, 2021 close of fact discovery. Plaintiffs
reasonably seek to add these custodians now to prepare for depositions of Google witnesses this
summer. In the Brown matter against Google, before Magistrate Judge van Keulen, there are
already 17 Google agreed-to or court-ordered custodians. Here, Google has only offered and
agreed to three custodians. Google relies on Bull. Mktg. LLC v. Google LLC, but that dispute
concerned custodians for one RFP, and the defendant had already offered eight custodians.

       Sundar Pichai: Mr. Pichai made key decisions regarding WAA. One email describes, for
example, how Mr. Pichai
                                                        GOOG-RDGZ-00014262. Mr. Pichai also
made public statements regarding relevant controls. Dkt. 60 (“FAC”) ¶¶ 90–91, 99–100. For
example, he represented that Google gives “you clear, meaningful choices around your data” and
that “you get to decide how your information is used.” FAC ¶ 90. An internal Google email
discussing Mr. Pichai’s article expressed concern that “‘App Activity’ is
            GOOG-RDGZ-00014578. A Google employee commented that

Id. Another related internal Google email stated that “[
                                                                  GOOG-RDGZ-00014597. Given
his central role in Google’s decision to intentionally collect and use app activity data while users
had WAA turned off while making public statements on behalf of Google suggesting the opposite,
Mr. Pichai should be a custodian. See Shenwick v. Twitter, Inc., No. 16-CV-05314-JST (SK), 2018
WL 833085, at *1 (N.D. Cal. Feb. 7, 2018) (ordering Twitter “to include [CEO, Jack] Dorsey’s
files in the group of records that will be searched from individual custodians”).

       Greg Fair: Mr. Fair had a key role in developing the WAA controls, with internal emails
noting his involvement “since the earliest days of My Account, Activity Controls, and the like.”
GOOG-RDGZ-00013767. Mr. Fair wrote that he and agreed-to custodian David Monsees “

                                                                    GOOG-RDGZ-00014207. Mr.
Fair also acknowledged that “

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       Eric Miraglia: Mr. Miraglia is the Director of Google’s Product Management, Privacy,
and Data Protection Office, having “founded and led Google’s Privacy & Data Protection Office.”1


                                                          GOOG-RDGZ-00015110.
                                                                       Id. Mr. Miraglia likely has
other documents that are directly relevant to Google’s asserted consent defense.

        Stephan Micklitz: Mr. Micklitz’s is the “head” of Google’s “privacy hub” with a “leading
role” on topics relating to “security and data privacy.” Mr. Micklitz reported that Google tested
users’ understanding of Google Account, with WAA, and admitted that “[i]t was clear those users
didn’t understand Google Dashboard,” and that “this [wa]sn’t going the way I imagined.”2 Google
has not designated any custodians from Google’s “privacy hub.”

       Guemmy Kim: Ms. Kim is a Product Manager of Account Controls and Settings at
Google who published articles in 2015 and 2016 suggesting WAA and the other features in My
Account “put you in control” and could be used to “decided what information is used to make
Google services work better for you” and for “safeguarding your data and protecting your privacy
on Google.” FAC ¶¶ 86–87. In this lawsuit, Google asserts the opposite, asserting that users are
powerless to stop its Firebase-based data collection with those controls.

        Jason Titus: Mr. Titus is a Google VP in Google’s Developer Products Group who should
have documents concerning Google’s development of Firebase SDK and Google’s efforts to get
app developers to use Firebase SDK, with knowledge about Google’s expansion of Firebase and
its value to Google.3 Given Google’s focus on app developers, Plaintiffs fairly seek a custodian
who interacts with those app developers.

        Jan Hannemann: Mr. Hannemann is a Google Product Manager who for many years has
had a “leading role on topics relating to only security and data privacy”4 and published articles
about transparency, control, and privacy regarding Google accounts.5 Plaintiffs anticipate that he
will have relevant documents concerning those controls and user privacy.

        Rahul Roy-Chowdhury: Mr. Roy-Chowdhury is the Vice President of Product Privacy
at Google with a lead role in connection with “user trust, safety and privacy at Google.” He has
published articles on Google’s privacy practices where he specifically discussed the WAA feature
at issue in this lawsuit (FAC ¶ 95) and should have relevant, non-duplicative emails.




1 The quotations without citations are all from public LinkedIn profiles.
2 https://about.google/stories/micklitz-debooij/.
3 https://venturebeat.com/2016/05/18/google-expands-firebase-with-analytics-remote-config-
crash-reporting-and-dynamic-links/; FAC ¶ 41.
4 https://about.google/stories/micklitz-hannemann/.
5 https://blog.google/technology/safety-security/more-transparency-and-control-your-google-
account/.

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        Keith Enright: Mr. Enright is Google’s Chief Privacy Officer who leads a “team of
privacy specialists in support of Google’s worldwide privacy effort” and “[r]egularly present[s]
before domestic and international regulators.” Given his interactions with regulators, Plaintiffs
seek to include him as a custodian. See Feb. 5, 2021 Hearing Tr. at 28:13–29:2 (Court: noting
burden in collecting documents from other investigations but noting “If there are any documents
to a regulator, they should get it.”). Mr. Enright has also testified that Google Account (which
includes the WAA control) allows users to “set their preferences for how Google should store and
use their information” and that Google has “made mistakes in the past, from which we have
learned, and improved our robust privacy program.”6 He should be a custodian.

       Donald Harrison: Mr. Harrison is the President of Google’s Global Partnership and
Corporate Development. Given his role in Google’s mergers and acquisitions team, he likely has
information about Google’s 2014 acquisition of Firebase. Mr. Harrison has also acknowledged
publicly that consent at times “appears confusing” and is likely to have unique discovery relevant
to Google’s defenses, including Google’s consent defense. FAC ¶ 101.

                                  GOOGLE’S STATEMENT

        The parties agreed that Google would search three custodians’ files using agreed search
terms. The custodians were selected based on Plaintiffs’ allegations, and the search terms were
drafted by Plaintiffs and narrowed by Google. Google has begun the process of reviewing those
search-term hits for production. Meanwhile, Google’s Motion to Dismiss remains under
submission, and the Court’s ruling could substantially alter the scope of this case, or end it
altogether. Plaintiffs are rushing to obtain as much discovery as possible before that happens.
This is an impermissible fishing expedition, and the Court shouldn’t allow it.

         Plaintiffs propose that Google quadruple its custodian roster by listing Google officials
Plaintiffs found on LinkedIn without any attention to whether they actually have responsive,
non-duplicative documents. There is a better way. Google proposed to Plaintiffs that they receive
Google’s productions from the first three custodians, review it, and then determine if they need
any more custodians, and if so, whom. That is a reasonable proposal that will produce better
results than Plaintiffs’ blunderbuss approach, which will result in duplication and false positives
at great expense. See Bull. Mktg. LLC v. Google LLC, 2018 WL 6718604, at *2 (N.D. Cal. Dec.
21, 2018) (phasing custodial discovery so that plaintiffs could first review the first tranche of
custodial ESI before determining if anything is missing).7

       In any case, Plaintiffs aim too high and too broad, seeking documents from senior Google


6 https://www.commerce.senate.gov/services/files/5D32673E-D11D-4EE1-A7F3-
8B03E407128D.
7 Plaintiffs rely on Vasudevan Software, Inc. v. Microstrategy Inc., No. 11-CV-06637-RS-PSG,
2012 WL 5637611, at *6 (N.D. Cal. Nov. 15, 2012), which was decided under the old discovery
standard. Under Rule 26 proportionality, there are additional questions the Court must ask,
including whether the burden of quadrupling the custodian list will yield real benefits to the case.
Further, even in that case, the Court noted that the defendant hadn’t named alternative custodians
who were more appropriate, unlike here, where Google has done just that.

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officials whose portfolios of responsibilities don’t reach the granular claims Plaintiffs actually
assert. There is no reason for Plaintiffs’ poor aim. They propounded an interrogatory seeking the
names of Google employees with responsibility for the products at issue in this case, and after
extensive meet-and-confer clarifying that Plaintiffs wanted the response to choose custodians,
Google responded through great effort by identifying over 40 names. None of those names is on
Plaintiffs’ proposed custodian list.

        Further, the Court has the Motion to Dismiss under submission and the only reason the
ruling didn’t come sooner is because Plaintiffs chose to amend their complaint rather than
oppose Google’s first motion to dismiss last fall. Regardless, a ruling could come any day, and
with it greater clarity about whether this case will proceed, and if so, about its proper scope.
Nevertheless, Plaintiffs argue that they need more custodians right away because of the
November 12, 2021 fact discovery cut-off. But seven months is more than enough time to wait
for Judge Seeborg’s ruling and for Google’s production of the first three custodians’ files, which
is already underway, before Plaintiffs request any more custodians. And if seven months isn’t
enough time, Google has offered to Plaintiffs to work with them on a stipulated modified
schedule. Plaintiffs never responded to that offer, opting to file this brief instead.

        The three custodians Google selected cover the issues implicated by the complaint. Steve
Ganem is a Product Lead for the Google Analytics for Firebase (GA4F) product. He has
substantial knowledge and responsibilities for the very aspects of GA4F that are accused in the
complaint: the collection and use of data, the terms of use and policies surrounding the product,
and the impact or lack of impact the WAA control has on the collection of data via GA4F. None
of the other proposed custodians are as centrally involved in the aspects of GA4F accused by
Plaintiffs, and none are as likely to have responsive documents. David Monsees has extensive
responsibilities that cover the gamut of Plaintiffs’ interest in WAA.

                          and none of the names on Plaintiffs’ list are likely to have non-
duplicative responsive documents relating to the specific WAA-related questions raised by this
case. Finally, although Google’s position is that Firebase SDK writ large is not competently
accused by the complaint, it nevertheless agreed to make Frances Ma a custodian, to provide
Plaintiffs a larger context of Firebase SDK to see if any follow-up is needed (it won’t be).

         As for Plaintiffs’ comparisons to other cases, none of those is this case. There is no magic
number of custodians. The Court’s analysis must hew to the facts of the case at hand. The facts
in this case are not complicated, and the questions are straightforward.

        Plaintiffs’ specific justifications for each custodian are meritless, and the Court should
require more than a couple sentences for each of ten custodians before ordering a massive
expansion of discovery. Plaintiffs are using the Court’s procedures to force a premature decision
with far-reaching implications based on minimal (and misrepresented) information.

        Sundar Pichai, Alphabet’s CEO, is not an appropriate custodian in a case that is
primarily about the inner workings of a sub-product of Firebase SDK, which is itself just a single
product made by Google, one of several entities Mr. Pichai oversees. Plaintiffs’ justification is
sleight of hand, pointing the Court to documents not authored by, but discussing Mr. Pichai
weighing in one time on a discussion of                                                     . That

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has nothing to do with this case—in fact, the discussion was about
         it wasn’t even about the WAA control itself. This case is about data that is never stored
by WAA in the first place, and the issue regarding WAA has to do with how it was publicly
described, not how long its data retention period is. There is no evidence to suggest Mr. Pichai
has ever worked on the connection or lack thereof between WAA and GA4F (indeed, that is very
unlikely). As for the representations Mr. Pichai has made in public that Plaintiffs include in their
complaint, they are all true and go to high-level questions; none of them address the specific
issue identified by Plaintiffs in this case. Mr. Pichai has represented that Google has privacy
controls, and that those controls give users control over their data. That doesn’t make his
custodial ESI relevant to every case related to Google and privacy. Plaintiffs have never
identified a connection between Mr. Pichai and the functioning of GA4F while WAA is turned
off, and Google is aware of none. Finally, Plaintiffs should “exhaust[] other less intrusive
discovery methods” before demanding the sensitive files of the CEO of Google’s parent
company. Affinity Labs of Texas v. Apple, Inc., 2011 WL 1753982, at *15 (N.D. Cal. May 9,
2011). This case is in its infancy. Demanding Mr. Pichai’s e-mail now is a transparent attempt to
garner leverage.

        Greg Fair was involved in the development of WAA, but that alone is not enough to
justify pulling his documents now. WAA is a far-reaching setting that goes beyond the narrow
issue raised by this case. And to the extent Mr. Fair has responsive documents, they are likely to
be duplicative of the documents found in Mr. Monsees’ files because their time working on the
relevant WAA issues overlapped almost completely.

         Eric Miraglia is a high-level executive responsible for privacy issues in a much more
general way than the issue complained of here, and he is very unlikely to have documents useful
to this litigation. Plaintiffs’ argument about whether controls are defaulted to on or off is
misleading, and perhaps intended for some other litigation. This case is about a proposed class of
users who turned WAA off on purpose; the default issue is not implicated.

        Likewise, Stephan Micklitz, Jan Hannemann, and Rahul Roy-Chowdhury are far
removed from the issues here. They have responsibilities related to high-level decisions about
Google’s privacy controls, but the decisions at issue in this case, including most importantly how
WAA is described to users and how it applies to third party apps using Firebase, are more closely
associated with David Monsees. The little benefit these three custodians could add would be an
abstract, 80,000 foot view of Google’s privacy-controls landscape. And, Messrs. Hannemann and
Micklitz are in Germany, which could complicate discovery. Guemmy Kim Jason Titus, and
Donald Harrison are even further afield: they have no responsibility for the issues in this case.

       Keith Enright is an attorney and Google’s Chief Privacy Offer, and collecting and
searching his files will result in a massive, burdensome privilege-logging exercise and little to no
production of documents. There is no reason to put the parties through that now, or ever. Judge
Van Keulen has already made the same determination in another case where Plaintiffs sought
Mr. Enright’s files using the same justifications.




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Respectfully,



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                                       ATTESTATION


       I, Amanda Bonn, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence

to the filing of this document has been obtained from each signatory hereto.




 DATED: May 4, 2021                                  By:     /s/ Amanda Bonn

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